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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:15-MJ-00087-CKD
12                                  Plaintiff,           ORDER EXTENDING TIME FOR PRELIMINARY
                                                         HEARING PURSUANT TO RULE 5.1(d) AND
13                          v.                           EXCLUDING TIME UNDER SPEEDY TRIAL ACT
14   CHEE YANG,                                          CURRENT PRELIMINARY HEARING DATE:
                                                         MAY 5, 2015
15                                Defendant.             PROPOSED PRELIMINARY HEARING DATE:
                                                         JUNE 5, 2015
16

17          The Court has read and considered the Stipulation for Extension of Time for Preliminary Hearing
18 Pursuant to Rule 5.1(d) and Exclusion of Time, filed by the parties in this matter on April 30, 2015. The

19 Court hereby finds that the Stipulation, which this Court incorporates by reference into this Order,

20 demonstrates good cause for an extension of time for the preliminary hearing date pursuant to Rule
21 5.1(d) of the Federal Rules of Criminal Procedure. Furthermore, for the reasons set forth in the parties’

22 stipulation, the Court finds that the interests of justice served by granting this continuance outweigh the

23 best interests of the public and the defendant in a speedy trial. See 18 U.S.C. § 3161(h)(7)(A). The

24 Court further finds that the extension of time would not adversely affect the public interest in the prompt

25 disposition of criminal cases.

26          THEREFORE, FOR GOOD CAUSE SHOWN:
27          1.      The date of the preliminary hearing is extended to June 5, 2015, at 2:00 P.M.
28          2.      The time between April 30, 2015, and June 5, 2015, shall be excluded from calculation

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 1 pursuant to 18 U.S.C. § 3161(h)(7)(A).

 2         3.      Defendants shall appear at that date and time before the United States Magistrate Judge

 3 on duty.

 4         IT IS SO ORDERED.

 5 Dated: May 1, 2015

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